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   1                    IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
   2                              EASTERN DIVISION
   3    KEITH SNYDER, individually and on              )   Docket No. 14 C 8461
        behalf of all others similarly                 )              16 C 8677
   4    situated, et al.,                              )
                                                       )
   5                                  Plaintiffs,      )
                                                       )
   6                    vs.                            )   Chicago, Illinois
                                                       )
   7    OCWEN LOAN SERVICING LLC,                      )   April 5, 2018
                                                       )   9:30 o'clock a.m.
   8                                  Defendant.       )
   9                     TRANSCRIPT OF PROCEEDINGS - MOTION
                      BEFORE THE HONORABLE MATTHEW F. KENNELLY
 10
 11    APPEARANCES:
 12
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 24                                Official Court Reporter
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 25                                Chicago, Illinois 60604
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 21
 22
 23
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   1      (The following proceedings were had in open court:)
   2               THE CLERK: Case No. 16 C 8677, Beecroft v. Ocwen
   3   Loan.
   4               THE COURT: That's part of Snyder, so call Snyder
   5   too.
   6               THE CLERK: Okay. 14 C 8461, Snyder v. Ocwen Loan.
   7               THE COURT: So everybody get in a spot before anybody
   8   gives your names, and we'll kind of go across the room.
   9               All right. So starting on this end.
 10                MS. MAJEWSKI: Jennifer Majewski on behalf of
 11    Wilmington Trust.
 12                THE COURT: You got to project more. You got to
 13    project.
 14                MS. MAJEWSKI: I'm sorry. Jennifer Majewski on
 15    behalf of Wilmington Trust.
 16                MR. FLEISCHMANN: Good morning, your Honor. Simon
 17    Fleischmann on behalf of Ocwen.
 18                MR. BECKER: Good morning, your Honor. Ryan Becker
 19    on behalf of Ocwen.
 20                MR. OTERO: Brian Otero on behalf of Ocwen.
 21                MS. TERRELL: Beth Terrell on behalf of plaintiffs.
 22                MR. BURKE: Alex Burke for plaintiffs.
 23                MR. MAROVITCH: Dan Marovitch for plaintiffs.
 24                MR. CABRERA: Guil Cabrera for plaintiffs.
 25                MR. HEANEY: Mark Heaney for the plaintiffs.
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   1               MR. ANKCORN: Mark Ankcorn for the plaintiffs.
   2               THE COURT: Okay. Is there anybody who is not up
   3   here who is in the room who wants to be heard, who wants to
   4   speak about the proposed settlement to the class action in the
   5   Snyder and Beecroft v. Ocwen case? If so, just stand up, and
   6   I'll Know you want to talk.
   7               Nobody is standing up. Okay. So it's 9:40.
   8               MR. BURKE: Your Honor, Tracee Beecroft is in the
   9   gallery, the named plaintiff. She doesn't wish to speak, but
 10    I thought I would recognize her.
 11                THE COURT: Okay.
 12                MR. BURKE: We also have another settlement class
 13    member who is here to observe.
 14                THE COURT: All right. So my questions -- I have
 15    some questions that have to do with the settlement. I have a
 16    separate set of questions that have to do with attorneys' fees
 17    that I may not deal with today.
 18                So let me deal with the settlement aspects of this
 19    first, and not necessarily in this order.
 20                So the people who did the notice administration,
 21    which is a company called Epiq, E-p-i-q -- well, it's actually
 22    a division of Epiq. It's called Hilsoft, H-i-l-s-o-f-t.
 23                Anyway, there is a line in Ms. -- is it Mr. Azari or
 24    Ms. Azari? Is it Mr. or Ms. Azari, does anybody know?
 25                MS. TERRELL: It's Mr.
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   1               THE COURT: Mr. Azari?
   2               MS. TERRELL: Mr.; Cameron, yeah.
   3               THE COURT: A line in his affidavit that says -- now,
   4   there's female Camerons too. That's why I asked. Famous
   5   actor, for example. Anyway.
   6               Epiq has agreed to cap fees at a million-six.
   7               MS. TERRELL: Yes.
   8               THE COURT: How do I have any clue whether that's
   9   reasonable? Nobody's given me anything on that. I don't know
 10    whether that's $100,000 in costs and a million and a half in
 11    profit, the opposite, or something in between. So there's no
 12    way for me to tell. I can't approve that without knowing
 13    more.
 14                MS. TERRELL: Okay.
 15                THE COURT: Unless I'm missing something in here, and
 16    I think I looked through everything.
 17                MS. TERRELL: Yeah, we didn't document the economics
 18    of that. I'll tell you that we negotiated very hard based on
 19    their estimate and their actual costs.
 20                THE COURT: Yeah, so they're going to have to
 21    document it.
 22                MS. TERRELL: Got it.
 23                THE COURT: So that's item number 1. I don't know
 24    whether that means costs, I don't know whether it means
 25    discussion about regular rates. I mean, the more that's put
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   1   in whatever gets filed, the better is, I guess, the big
   2   picture aspect of that.
   3               MS. TERRELL: Absolutely.
   4               THE COURT: Okay. Hang on a second.
   5               On the -- there were a bunch of motions to file
   6   excess pages and to file under seal. Those are all granted.
   7               I had a note on -- I can probably do it from memory
   8   if I can't find my note, but I want to see if I can find my
   9   note first.
 10                Well, okay. There were 367 exclusion requests
 11    submitted, so my first question on that is potentially a small
 12    one: Does that include the three objectors? In other words,
 13    are we understanding the three objectors that if the objection
 14    isn't sustained, that they want to be excluded?
 15                MS. TERRELL: They did not indicate an intention to
 16    be excluded.
 17                THE COURT: In the three -- just so it's clear who
 18    we're talking about here, we are talking about --
 19                MS. TERRELL: Yeah.
 20                THE COURT: That's attached to something different.
 21    Give me the names.
 22                MS. TERRELL: Stuart, Skrichorina (phonetic), and
 23    Seltzer are the three objectors.
 24                THE COURT: Yeah, okay.
 25                MS. TERRELL: Yeah.
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   1               THE COURT: Now, that's not the person who submitted
   2   the long set of materials, right?
   3               MR. BURKE: That was Mabel --
   4               MS. TERRELL: That's right.
   5               THE COURT: Right. And so she -- what do you
   6   understand her status to be? Just an objector asking to be
   7   excluded? Both? Neither?
   8               MS. TERRELL: I understood she just wanted to be
   9   excluded.
 10                THE COURT: So she's part of the 367?
 11                MS. TERRELL: I think that's correct. And it's 378,
 12    your Honor. It's gone up a little bit. It's gone up a little
 13    bit.
 14                THE COURT: When did the last ones come in? Within
 15    the last couple of weeks?
 16                MS. TERRELL: Within the last couple weeks, yeah.
 17                THE COURT: Is there some reason to kind of hold that
 18    window open for a little bit? Because it's not unusual for
 19    these things to kind of come in at the last minute.
 20                MS. TERRELL: We think that's it. Part of it is just
 21    the postmark issue and then the claims administration are
 22    processing it. But we believe 378 is the final number.
 23                THE COURT: Okay. So as far as --
 24                MS. TERRELL: Including late objectors.
 25                THE COURT: As far as the other three that you just
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   1   mentioned, we are understanding them to be not asking to opt
   2   out but rather objecting.
   3               MS. TERRELL: That's our understanding.
   4               THE COURT: All right. Do you have a different -- on
   5   the defense side, do you have any different understanding?
   6               MR. OTERO: We do not have a different understanding,
   7   your Honor.
   8               THE COURT: Okay. And then my second question about
   9   the 367 or the 378 or whatever it is, has anybody -- and 125
 10    of those you said in a footnote are from the -- were submitted
 11    by the Hyde, H-y-d-e, & Swigart law firm, S-w-i-g-a-r-t, has
 12    anybody on the plaintiffs' side done any kind of -- or on the
 13    defendant's side done any kind of an analysis to try to figure
 14    out how many of the people -- the guy who is standing up, you
 15    don't have to stand up in the back of the room.
 16                Has anybody done any kind of analysis to try to see
 17    how many of those people are people who were recipients of one
 18    of Mr. Ankcorn's letters?
 19                MR. OTERO: We have not.
 20                MS. TERRELL: We have not.
 21                MR. ANKCORN: Your Honor, if I may?
 22                THE COURT: Have you?
 23                MR. ANKCORN: I looked at some of those numbers, and
 24    as best I could tell, approximately 37 had received a letter
 25    from me.
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   1               THE COURT: Okay. I'm actually kind of flummoxed by
   2   the fact that the defendants, after you made such a big deal
   3   out of all of this and after you heard -- and probably heard
   4   vicariously about what I said in another case why you didn't
   5   look to see --
   6               MR. OTERO: We don't have the letters.
   7               THE COURT: But you have a sense of who the high
   8   value people are.
   9               MR. OTERO: Well, we know who opted out. We don't
 10    know who Mr. Ankcorn has been in touch with, so we can't do
 11    the analysis.
 12                THE COURT: Yeah, but you could do it inferentially.
 13    I mean, the whole pitch that you gave me is that what happened
 14    is the people who got the higher number of calls all got
 15    peeled off, and those are the people that the 2,000 or however
 16    many letters went to.
 17                MR. FLEISCHMANN: We had asked for that disclosure.
 18                THE COURT: So let me ask it in a different way.
 19    Have you gone through to see on these 125 exclusions or
 20    the 378 or whatever it is how many of those are the people who
 21    got more than a thousand calls?
 22                MR. OTERO: We have not.
 23                THE COURT: I am equally flummoxed. Now I'm entitled
 24    to be flummoxed. I get your other point. But, why? I mean,
 25    you guys made such a big deal out of this. Big deal.
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   1               MR. OTERO: Your Honor --
   2               THE COURT: No. Big deal. You basically asked me to
   3    blow up the settlement about this.
   4               MR. OTERO: We did --
   5               THE COURT: You shook your head. Is that not true?
   6               MR. OTERO: We did not ask you to blow up the
   7    settlement, your Honor. That --
   8               THE COURT: Well, you asked for a hearing, and it was
   9    pretty clear that's where it was going. If you want me to go
  10    back and quote to you from your thing, I'll take 20 minutes
  11    and go find it.
  12               MR. OTERO: I mean, your Honor, we -- look, we wrote
  13    the papers. That was not the relief that we were looking for.
  14    We were looking for some sort of relief with respect to
  15    Mr. Ankcorn.
  16               We were not looking to blow up the settlement, your
  17    Honor. We did do the analysis you asked for --
  18               THE COURT: Good. I am glad you're saying that now
  19    on the record. So that sort of takes that issue out of the
  20    case. Good. Wonderful.
  21               MR. FLEISCHMANN: Your Honor --
  22               THE COURT: So you think it's 37, Mr. Ankcorn?
  23               MR. ANKCORN: Yes.
  24               THE COURT: Okay.
  25               MR. FLEISCHMANN: Your Honor, if I could interject on
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   1    the last conversation.
   2               THE COURT: So are you guys talking to each other?
   3               MR. FLEISCHMANN: Well, I would just like to point
   4    out that we did ask for discovery in order to determine how
   5    and with whom --
   6               THE COURT: That's why I asked the question in the
   7    way I asked it the second time.
   8               MR. FLEISCHMANN: That's right.
   9               THE COURT: I don't need to hear from you right now,
  10    Mr. Fleischmann. We are going to have one person talking for
  11    you guys, one, so figure out who it's going to be.
  12               MR. FLEISCHMANN: Fair enough.
  13               THE COURT: So one of the considerations that I
  14    thought was going to get argued more in terms of justifying
  15    the reasonableness of the settlement, and it's mentioned, but
  16    it's not really discussed much, and I wanted to ask about it,
  17    was this whole question about what I'll say are the finances
  18    on the defense side of the case. I mean, my understanding,
  19    and I'm using that in a very sort of loose term, my
  20    understanding at various points in time before the settlement
  21    was reached was that -- and it was actually, I think, before
  22    the case against the banks got filed -- was that the potential
  23    liability, and even the settlement numbers that were being
  24    talked about, were said to be beyond Ocwen's ability to pay.
  25    That's why -- I think it was maybe even part of the
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   1    justification given for filing the lawsuit against the banks
   2    and then merging it with this one.
   3               And, you know, the numbers -- and I am not saying
   4    that it's an unreasonably low number, but the numbers here are
   5    way less than what we're talking about then, and I don't know
   6    whether that's why nobody talked about financial ability to
   7    pay or what.
   8               So can somebody enlighten me a little bit, and I
   9    don't care who it is, and I don't care if it's multiple
  10    people, how, if at all, that should weigh into my
  11    consideration of the reasonableness of the settlement?
  12               MS. TERRELL: Well, I can start. I do know that we
  13    spent substantial time discussing the financial situation of
  14    defendants. They made available -- I think their chief
  15    financial officer at one of the mediation sessions walked us
  16    through a lot of financials, we asked for additional
  17    information, and we ended up being as satisfied as we could be
  18    that the $17 and a half million was -- in addition to being
  19    reasonable, was equipped for them to do given all of their
  20    other liabilities. And they're declining -- they're declining
  21    market share around the country, but I think it would be
  22    helpful --
  23               THE COURT: Yeah, if I'm remembering correctly, there
  24    was a potential problem -- there was insurance but a potential
  25    problem with coverage because of when the claim had been
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   1    tendered to the insurance company? Am I right about that?
   2               MS. TERRELL: That's correct. AIG denied coverage
   3    because of a failure to tender. We actually talked to
   4    insurance coverage counsel, tried to test that, see if we
   5    could find a way around it, and we were told that AIG was
   6    likely to succeed on that denial.
   7               THE COURT: So then, basically, what you were talking
   8    about is whatever you could get from Ocwen itself plus any of
   9    the other entities.
  10               MS. TERRELL: That's right.
  11               THE COURT: Yeah. So of the money that's being paid,
  12    is it all from Ocwen, or is any of it from the banks that were
  13    sued in a separate lawsuit?
  14               MS. TERRELL: It is all from Ocwen.
  15               THE COURT: Okay. And have I already dismissed the
  16    other lawsuit?
  17               MS. TERRELL: No.
  18               MR. BURKE: No, I think that you had designated --
  19               THE COURT: It's kind of trailing along behind this
  20    one or something?
  21               MR. BURKE: I think they're related.
  22               THE COURT: They are a related case? Okay.
  23               By "the other lawsuit," I don't mean Beecroft; I mean
  24    the lawsuit against the banks.
  25               And if I'm recalling correctly, part of this
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   1    settlement is that case is going to be dismissed.
   2               MR. BURKE: Yes.
   3               MS. TERRELL: That's correct.
   4               THE COURT: So don't I have to think about the
   5    reasonableness of that? Because it's part of the settlement,
   6    right? So why is that -- that's not discussed in here at all.
   7    So I need more on that.
   8               MS. TERRELL: Okay.
   9               THE COURT: And then the other thing I'd like to get,
  10    and I wouldn't necessarily expect you to have this at your
  11    fingertips right now, is -- and I know that there are not a
  12    lot of objections, but, you know, sort of the way these things
  13    work is -- and I get class notices too, and I see that, you
  14    know, some hurt settlement, and I am going to get $4.98, and
  15    there is a time cost and an aggravation cost in objecting, so
  16    it's -- I know that we're supposed to read into -- something
  17    into the fact that there are only three objections, and I do,
  18    but that has to be tempered in some way.
  19               But the objections all made a -- you know, I think a
  20    colorable point that given the amount of calls that people
  21    got, this isn't a lot of money. And I think, objectively,
  22    that's probably right. But my question is have you -- was
  23    there any analysis done to try to ascertain like what's kind
  24    of the median number of calls that people got or what's the
  25    high end, what's the low end? What's the bell curve look
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   1    like, in other words? Do you have any kind -- is there a way
   2    of getting at that number?
   3               MS. TERRELL: We've done that analysis along the way.
   4    I don't know if I recall what it is right now.
   5               It's on the upper end. I mean, people were receiving
   6    hundreds of calls.
   7               MR. BURKE: As I recall, if you take the number of
   8    unique cells that were called, the number of unique cell
   9    numbers, and the number of calls and you divide the two, you
  10    get about a hundred.
  11               MS. TERRELL: Yeah.
  12               MR. BURKE: So about a hundred calls --
  13               THE COURT: All right. That's close enough. You
  14    don't need -- I mean, that gives me a general sense of it.
  15    You know, whether it's 80 or 150, that gives me a general
  16    sense.
  17               All right.
  18               MS. TERRELL: I think that's part of the reason, your
  19    Honor, why the claims rate is higher than we sometimes see in
  20    these cases.
  21               THE COURT: Because it's something that people
  22    remember --
  23               MS. TERRELL: People remember getting calls from
  24    Ocwen.
  25               THE COURT: Yeah. I mean, because the notice that
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   1    went out said that if everything breaks the way we think it's
   2    going to, you're going to get 60 bucks, right? So it didn't
   3    say 600, so you can't attribute it to the fact that, oh, this
   4    is this huge pile of money. I mean, $60 is nothing to sneeze
   5    at, obviously, but, yeah, that might be an explanation for why
   6    you got more.
   7               You got quite -- it ended up being 16 percent --
   8               MS. TERRELL: 16 percent.
   9               THE COURT: -- as opposed to -- sort of an assumed 10
  10    and 10 was probably a high-end assumption at that point, based
  11    on the way these things normally go.
  12               MS. TERRELL: But we've seen that correlation. Where
  13    there's high call volume --
  14               THE COURT: Yeah, people remember --
  15               MS. TERRELL: -- of callers --
  16               THE COURT: Yeah.
  17               MS. TERRELL: -- you know, people remember.
  18               MR. BURKE: I would note, you Honor, that the
  19    notice -- both the post card and the long form spelled out
  20    what people could get if they opt out.
  21               THE COURT: Yeah, no, that's true. It did,
  22    absolutely. You can get up to this, and -- yeah. Right.
  23               Okay. Well, so you have a sense of the additional
  24    information that I need. So it's the thing about the
  25    administrator and -- whatever the other thing was, I'm
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   1    blanking on it right now, but get the transcript or whatever.
   2               So does anybody on this side of the "v.," the
   3    backside of the "v.," want to say anything about whether I
   4    should approve this or not? Basically, what I'm going to do
   5    is I am going to continue it because I want to get this more
   6    information before I do that, but is there anything you want
   7    to contribute at this point?
   8               MR. OTERO: We want it to be approved as well, your
   9    Honor.
  10               THE COURT: Who do you represent? You represent one
  11    of the banks.
  12               MS. MAJEWSKI: Yes.
  13               THE COURT: Got it. Okay.
  14               And then on the question of fees, so I'll just kind
  15    of tell you where my head's at at this point. And the
  16    question is is whether the percentages are right.
  17               I mean, I certainly agree that the percentage of the
  18    fund approach is the right approach to use. I think the law
  19    permits me to at least -- sometimes people refer to it as a
  20    cross-check, to get a cross-check of what the -- I hate this
  21    term -- loadstar numbers are, but I'd like to get that. You
  22    don't have to give me all of the detail, but I would like to
  23    get sort of a high level summary, you know, from the Burke law
  24    firm: There were these lawyers who spent this amount of time,
  25    this is our regular hourly rate, so if you did it on a
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   1    loadstar basis, this would be number, and so on. I would like
   2    to get that from everybody who is looking for money here.
   3               My second question about that is that in
   4    Mr. Ankcorn's separate filing, it was approved the fees and
   5    they should be divided up in the way that is set forth in the
   6    agreement. And if I'm reading the agreement correctly,
   7    it's -- for this, it's 75/25, 75 being Mr. Ankcorn, 25
   8    being -- no, 75 being -- do I have it backwards? What is it?
   9               MR. ANKCORN: It's effectively four parties.
  10               THE COURT: No, I understand, but they were in
  11    groups, weren't they? So the 75 group is who?
  12               MR. ANKCORN: Is the Terrell firm, the Cabrera
  13    firm --
  14               THE COURT: And you.
  15               And then the 25 group is Mr. Burke --
  16               MR. ANKCORN: With --
  17               MS. TERRELL: Mr. Heaney.
  18               MR. ANKCORN: -- Mr. Heaney.
  19               THE COURT: Got it. Okay.
  20               So my question about that is is that something that
  21    I'm supposed to include in an order, or do I leave that for
  22    all of you to work out, fight out amongst yourselves? I mean,
  23    I've never been asked to put that in an order, but I don't
  24    know that I've ever had a situation where when you get to this
  25    point, there's arguably some disputation among the lawyers on
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   1    the one side.
   2               So what are people's views on that? What's your
   3    view?
   4               MR. ANKCORN: If I can start, your Honor. Our
   5    feeling is as long as the order includes the Ankcorn law firm
   6    in the fees, that we can work out that division amongst
   7    ourselves. So we would not request --
   8               THE COURT: Okay.
   9               MR. ANKCORN: -- a specific order --
  10               THE COURT: I understand your point.
  11               MR. ANKCORN: -- so long as we are included.
  12               THE COURT: Your thoughts?
  13               MS. TERRELL: I think our point is the same. Your
  14    Honor has the discretion to deny fees to any of us, including
  15    Mr. Ankcorn, and in that event, that would affect, we believe,
  16    the contractual obligations.
  17               THE COURT: Yeah, I suppose it could, depending upon
  18    how I went about doing it. But, yeah, it would be sort of --
  19    yeah, that would be a nice little first-year contracts law
  20    hypothetical for a final exam, actually, mutual mistake, or --
  21    I don't know what it is. Whatever. Anyway, we can worry
  22    about that later.
  23               So I'm going to make a semi-educated guess that
  24    everybody in the room standing up here knows about the goings
  25    in the other case that Mr. Ankcorn has in front of me. And in
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   1    this case, I may have already raised some issues about that,
   2    and the information that I got in the other case at least
   3    arguably gives some color or flavor or whatever you want to
   4    call it to what's alleged here.
   5               And I set the other case, which is called AD v.
   6    Credit One, I think the case number is 14 CV 10106, I set it
   7    for a hearing, which I don't expect to take too long, but I
   8    think I want to say two weeks from today, April 19th.
   9               MR. ANKCORN: April 17th.
  10               THE COURT: 17th. You're absolutely right. Let me
  11    just check and make sure it's showing up.
  12               Yeah, 10:30 on April 17th. That's the date I'm going
  13    to continue this to. And I think you should expect,
  14    Mr. Ankcorn, that I'm going to want to ask you some questions
  15    about this too, and we can probably do it all at once.
  16               What I haven't really sort of worked through yet is
  17    whether and the extent to which other people ought to be able
  18    to ask Mr. Ankcorn questions. So think about that, and we'll
  19    address that at the time.
  20               And so that's pretty much everything I had on my
  21    agenda, I think. Let me just check real fast on my notes and
  22    be certain of that.
  23               Yeah, that's about it.
  24               So the final approval hearing is entered and
  25    continued to 10:30 on the 17th of April.
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   1               MR. ANKCORN: Your Honor, if I could? With respect
   2    to our obligation for fees and costs, I would just like to put
   3    on the record that I acknowledge that my conduct in the case
   4    was sharp and it was aggressive. I did not think that I was
   5    jeopardizing the settlement, and, thankfully, the facts as
   6    they have come out have proven that we haven't jeopardized the
   7    settlement.
   8               But in light of the conduct here, we would ask to
   9    reduce our request for expenses by an amount of $6,000. That
  10    represents the amount that was expended on the costs of
  11    sending out letters and other things like that.
  12               THE COURT: Okay. Thanks. I'll take that into
  13    account.
  14               And I guess one of the -- just in terms of having
  15    your ducks in a row and being prepared, I mean, one of the
  16    things I'm going to ask you is whether what seems to have
  17    occurred in these two cases -- in other words, the sending out
  18    of letters to what might arguably be considered to be the
  19    higher value members of the class or putative class,
  20    ostensibly -- and I don't mean anything by "ostensibly" at
  21    this point, but -- other than its literal meaning -- to
  22    investigate further -- whether that's something that you've
  23    done in other cases. So just be prepared to answer that.
  24    Okay?
  25               I'll see you on the 17th of April. Thanks.
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   1               MR. BURKE: Thank you.
   2               MS. TERRELL: Thank you, your Honor.
   3       (Which were all the proceedings had in the above-entitled
   4    cause on the day and date aforesaid.)
   5      I certify that the foregoing is a correct transcript from
        the record of proceedings in the above-entitled matter.
   6
   7    Carolyn R. Cox                                 Date
        Official Court Reporter
   8    Northern District of Illinois
   9    /s/Carolyn R. Cox, CSR, RPR, CRR, FCRR
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